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                                 UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF NEW YORK


     SECURITIES AND EXCHANGE COMMISSION,

                                    Plaintiff,

                        v.                                                13-cv-5584 (RRM){RLM)

     CKB168 HOLDINGS LTD., ET AL.

                                  Defendants,

                    AND       -

     ROSANNA LS INC., ET AL.

                                   Relief Defendants.

        /27/,{                y
        [PRePeSED) JUDGMENT AS TO DEFENDANT CHEONGWHA
     "HEYWOOD" CHANG AND RELIEF DEFENDANTS HTC CONSULTING
            LLC AND ARCADIA BUSINESS CONSULTING INC.
            The Securities and Exchange Commission having filed a Complaint and Defendant

     Cheongwha "Heywood" Chang ("Defendant") and Relief Defendants HTC Consulting LLC and

     Arcadia Business Consulting Inc. ("Relief Defendants") having entered general appearances;

     consented to the Court's jurisdiction over Defendant and Relief Defendants and the subject

     matter of this action ; consented to entry of this Judgment; waived findings of fact and

     conclusions of law; and waived any right to appeal from this Judgment:

                                                      I.

            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

     permanently restrained and enjoined from violating, directly or indirectly, Section 1O(b) of the

     Securities Exchange Act of 1934 (the "Exchange Act") [15 U.S .C . § 78j(b)] and Rule lOb-5

     promulgated thereunder [17 C.F .R. § 240.1 Ob-5], by using any means or instrumentality of
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     interstate commerce, or of the mails, or of any facility of any national securities exchange, in

     connection with the purchase or sale of any security:

             (a)     to employ any device, scheme, or artifice to defraud;

             (b)     to make any untrue statement of a material fact or to omit to state a material fact

                     necessary in order to make the statements made, in the light of the circumstances

                     under which they were made, not misleading; or

             (c)     to engage in any act, practice, or course of business which operates or would

                     operate as a fraud or deceit upon any person.

     IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in Federal Rule

     of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual

     notice of this Judgment by personal service or otherwise: (a) Defendant' s officers, agents,

     servants, employees, and attorneys; and (b) other persons in active concert or participation with

     Defendant or with anyone described in (a).

                                                      II.

             IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

     is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

     (the " Securities Act") [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

     means or instruments of transportation or communication in interstate commerce or by use of the

     mails, directly or indirectly :

             (a)     to employ any device, scheme, or artifice to defraud;

             (b)     to obtain money or property by means of any untrue statement of a material fact

                     or any omission of a material fact necessary in order to make the statements



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                    made, in light of the circumstances under which they were made, not misleading;

                    or

            (c)     to engage in any transaction, practice, or course of business which operates or

                    would operate as a fraud or deceit upon the purchaser.

            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

     Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

     receive actual notice of this Judgment by personal service or otherwise: (a) Defendant's officers,

     agents, servants, employees, and attorneys; and (b) other persons in active concert or

     participation with Defendant or with anyone described in (a).

                                                     III.

            IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

     is permanently restrained and enjoined from violating Section 5 of the Securities Act [15 U.S.C.

     § 77e] by, directly or indirectly, in the absence of any applicable exemption:

            (a)     Unless a registration statement is in effect as to a security, making use of any

                    means or instruments of transportation or communication in interstate commerce

                    or of the mails to sell such security through the use or medium of any prospectus

                    or otherwise;

            (b)    Unless a registration statement is in effect as to a security, carrying or causing to

                   be carried through the mails or in interstate commerce, by any means or

                   instruments of transportation, any such security for the purpose of sale or for

                   delivery after sale; or

            (c)    Making use of any means or instruments of transportation or communication in

                   interstate commerce or of the mails to offer to sell or offer to buy through the use

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                     or medium of any prospectus or otherwise any security, unless a registration

                     statement has been filed with the Commission as to such security, or while the

                     registration statement is the subject of a refusal order or stop order or (prior to the

                     effective date of the registration statement) any public proceeding or examination

                     under Section 8 of the Securities Act [15 U.S.C. § 77h].

             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

      Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

      receive actual notice of this Judgment by personal service or otherwise: (a) Defendant's officers,

      agents, servants, employees, and attorneys; and (b) other persons in active concert or

      participation with Defendant or with anyone described in (a).

                                                       IV.

             IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

      is permanently restrained and enjoined from violating Section l 5(a) of the Exchange Act [15

      U.S.C. § 78o(a)] , by using any means or instrumentality of interstate commerce, or of the mails,

      to effect any transactions in, or to induce or attempt to induce the purchase or sale of, any

     security (other than an exempted security or commercial paper, bankers ' acceptances, or

     commercial bills) unless registered with the Commission as a broker or dealer or associated with

     a broker or dealer registered with the Commission.

             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

     Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

     receive actual notice of this Judgment by personal service or otherwise: (a) Defendant's officers,

     agents, servants, employees, and attorneys; and (b) other persons in active concert or

     participation with Defendant or with anyone described in (a).

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                                                     v.
            IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

     is permanently restrained and enjoined from directly or indirectly, including, but not limited to,

     through any entity owned or controlled by Defendant, offering, operating, or participating in any

     marketing or sales program involving a security, including but not limited to a program in which

     a participant is compensated or promised compensation solely or primarily (1) for inducing

     another person to become a participant in the program, or (2) if such induced person induces

     another to become a participant in the program.

                                                     VI.

            IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

     and Relief Defendants are liable, jointly and severally with Defendant Toni Chen, for

     disgorgement of$1 ,955,521.25, representing profits gained as a result of the conduct alleged in

     the Complaint, together with prejudgment interest thereon in the amount of 146,428.56, for a

     total of$2, 101 ,949.81. Defendant shall satisfy this obligation by paying $2, 101,949.81 to the

     Securities and Exchange Commission within 240 days after entry of this Judgment.

            Defendant may transmit payment electronically to the Commission, which will provide

     detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

     from a bank account via Pay.gov through the SEC website at

     http://www.sec.gov/about/offices/ofin.htm. Defendant may also pay by certified check, bank

     cashier' s check, or United States postal money order payable to the Securities and Exchange

     Commission, which shall be delivered or mailed to:

            Enterprise Services Center
            Accounts Receivable Branch
            6500 South MacArthur Boulevard

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           Oklahoma City, OK 73169

    and shall be accompanied by a letter identifying the case title, civil action number, and name of

    this Court; Defendant Chang as a defendant in this action, or HTC Consulting LLC and Arcadia

    Business Consulting Inc. as Relief Defendants in this action; and specifying that payment is

    made pursuant to this Judgment.

            Defendant shall simultaneously transmit photocopies of evidence of payment and case

    identifying information to the Commission' s counsel in this action. By making this payment,

    Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part

    of the funds shall be returned to Defendant.

           The Commission may enforce the Court' s judgment for disgorgement and prejudgment

    interest by moving for civil contempt (and/or through other collection procedures authorized by

    law) at any time after 240 days following entry of this Judgment. Defendant shall pay post

    judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961. The Commission

    shall hold the funds , together with any interest and income earned thereon (collectively, the

    "Fund"), pending further order of the Court.

           The Commission may propose a plan to distribute the Fund subject to the Court's

    approval. Such a plan may provide that the Fund shall be distributed pursuant to the Fair Fund

    provisions of Section 308(a) of the Sarbanes-Oxley Act of2002. The Court shall retain

   jurisdiction over the administration of any distribution of the Fund. If the Commission staff

    determines that the Fund will not be distributed, the Commission shall send the funds paid

    pursuant to this Judgment to the United States Treasury.

           Regardless of whether any such Fair Fund distribution is made, amounts ordered to be

    paid as civil penalties pursuant to this Judgment shall be treated as penalties paid to the

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 government for all purposes, including all tax purposes. To preserve the deterrent effect of the

 civil penalty, Defendant shall not, after offset or reduction of any award of compensatory

 damages in any Related Investor Action based on Defendant's payment of disgorgement in this

 action, argue that he is entitled to, nor shall he further benefit by, offset or reduction of such

 compensatory damages award by the amount of any part of Defendant's payment of a civil

 penalty in this action (" Penalty Offset"). If the court in any Related Investor Action grants such

 a Penalty Offset, Defendant shall, within 30 days after entry of a final order granting the Penalty

 Offset, notify the Commission's counsel in this action and pay the amount of the Penalty Offset

 to the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall

 not be deemed an additional civil penalty and shall not be deemed to change the amount of the

 civil penalty imposed in this Judgment. For purposes of this paragraph, a " Related Investor

 Action" means a private damages action brought against Defendant by or on behalf of one or

 more investors based on substantially the same facts as alleged in the Complaint in this action.

                                                   VII.

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

 shall pay a civil penalty pursuant to Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and

 Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. The Court shall determine the

 amounts of the civil penalty upon motion of the Commission. In connection with the

  Commission's motion for civil penalties, and at any hearing held on such a motion: (a)

  Defendant will be precluded from arguing that Defendant did not violate the federal securities

  laws as alleged in the Complaint; (b) Defendant may not challenge the validity of the Consent or

  this Judgment; (c) solely for the purposes of such motion, the allegations of the Complaint shall

  be accepted as and deemed true by the Court; and (d) the Court may determine the issues raised

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  in the motion on the basis of affidavits, declarations, excerpts of sworn deposition or

  investigative testimony, and documentary evidence, without regard to the standards for summary

  judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In connection with

  the Commission's motion for civil penalties, the parties may take discovery, including discovery

  from appropriate non-parties.

                                                         VIII.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

  incorporated herein with the same force and effect as if fully set forth herein, and that Defendant

  shall comply with all of the undertakings and agreements set forth therein, including, but not

  limited to, the undertakings to:

         (a)     Within 14 days after entry of the Judgment, provide counsel for the Commission a

  sworn financial statement, including a complete list of all assets currently held directly or

  indirectly by or for the benefit of Defendant or Relief Defendants, including, but not limited to,

  bank accounts, brokerage accounts, investments, business interests, real property, and personal

  property worth over $1,000, whether located within or outside the jurisdiction of this Court

  ("Chang Assets");

         (b)     Except as expressly permitted in the Judgment, to maintain, preserve, and protect

  all Chang Assets from disposition, transfer, pledge, encumbrance, assignment, dissipation,

  concealment, or other disposal;

          (c)    Within 21 days after entry of the Judgment, repatriate any and all Chang Assets

  located outside the territorial limits of the United States to the jurisdiction of the Court;

          (d)    Within 28 days after entry of the Judgment, effectuate transfer to the Commission

  of any and all Chang Assets held at any financial or brokerage institution, including all funds

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    held in escrow for his benefit by his attorney, to be applied to the Judgment entered against

    Defendant. However, Defendant is not required to transfer to the Commission those funds held

    in the bank account ending in 1684, which is held at East West Bank.

           (e)     Within 180 days after entry of the Judgment, to make good faith efforts to

    effectuate the sale of each Chang Asset to a bona fide purchaser for a fair value. With respect to

    any Chang Asset constituting real property, Defendant shall be required to obtain the approval of

    counsel for the Commission prior to any such sale. Defendant agrees that he shall sign any and

    all documents necessary to evidence the Commission ' s interest in the Chang Assets, including,

    but not limited to, any liens, deeds, or mortgages;

           (f)     Within 5 days of the closing of the sale of any Chang Asset, to deliver the sale

    proceeds (after reasonable costs/expenses, mortgages, and bona fide liens) to the Commission to

    be applied to the Judgment entered against Defendant; and

           (g)     Within 60 days after entry of the Judgment, and every 60 days thereafter,

    Defendant shall certify in writing to counsel for the Commission, Defendant ' s compliance with

    the undertakings set forth above, identifying the undertaking and providing a narrative and

    exhibits sufficient to demonstrate compliance. Defendant shall respond to reasonable requests

    for additional information and materials, if deemed necessary by counsel for the Commission.

                                                          IX.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes of

    exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

    allegations in the complaint are true and admitted by Defendant, and f urther, any debt for

    disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

    Judgment or any other judgment, order, consent order, decree or settlement agreement entered in

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     connection with this proceeding, is a debt for the violation by Defendant of the federal securities

     laws or any regulation or order issued under such laws, as set forth in Section 523(a)(l 9) of the

     Bankruptcy Code, 11 U.S .C. §523(a)(l 9).

                                                      x.
              IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

     jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

                                                      IX.

              There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

     Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.


     Dated:   -~
               ---~
                  --' 2016
                                                       s/Roslynn R. Mauskopf
                                                                                                 /

                                                   UNITED STATES DISTRICT JUDGE




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